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                                                            INMATE REQUESTTO STAFF                                                   t


u.s. DEPARTMENT          OF JUSTTCE                                                                                  FEDERAL BUREAU OF PRJSONS



  TO:(Name and Title of Staff Member)




  WORK ASSIGNMENT:



SUBIECT: (Briefly state your question or concern and the solution you are requesting. Continue on back, ifnecessary. Your failure to be specific may result
in no action being taken. Ifnecessary, you will be interviewed in order to successfully respond to your requesl)




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